    Case 4:21-cv-00733-ALM Document 33 Filed 08/25/22 Page 1 of 1 PageID #: 573




                              United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION



    SUZANNE JONES,                                   §
                                                     §
           Plaintiff,                                §
                                                     §
                                                     §      Civil Action No. 4:21-CV-00733
    v.                                                      Judge Mazzant
                                                     §
    H. NEIL MATKIN, in his personal and              §
    official capacity; TONI JENKINS, in her          §
                                                     §
    personal and official capacity; and COLLIN
                                                     §
    COLLEGE,
                                                     §
           Defendants.                               §

                                                ORDER

           Pending before the Court is Defendants H. Neil Matkin and Toni Jenkins’ Motion to Stay

    and/or Limit Discovery (Dkt. #8). Defendants sought a stay of all discovery pending resolution of

    Defendants’ Motion for Summary Judgment on Qualified Immunity. Further, Defendants filed a

.   supplement to this motion on July 8, 2022 (Dkt. #28).

           The Court has denied Defendants’ Motion for Summary Judgment on Qualified Immunity.

    Accordingly, the Court finds the present motion should be DENIED as moot.

           IT IS SO ORDERED.

           SIGNED this 25th day of August, 2022.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
